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                                            May 13, 2019
 Via ECF
 Hon. Shelley C. Chapman
 United States District Court
 for the Southern District of New York
 One Bowling Green, Room 623
 New York, NY 10004

                Re:     Lehman Bros. Holdings, Inc. v. PMAC Lending Services, et al.
                        (18-01842 (SCC)) – Request f or Pre-Motion Conference

 Dear Judge Chapman:

        We represent Defendant PMC Bancorp (“PMC”) in the above action and request a pre-
 motion conference pursuant to section 2.1 of the March 13, 2019 Amended Case Order (“CMO”).

        Under section 2.I of the CMO, any Defendant who has been served with an Additional
 Complaint, and who intends to file a motion under Federal Rule of Civil Procedure 12(b), must
 request a pre-motion conference describing the grounds for said motion. PMC has been served
 with Additional Complaints and is included in the list of such parties in Exhibit 4 to the CMO.

        In 2010, Plaintiff Lehman Brothers Holdings, Inc. (“LBHI”) commenced an action against
 PMC for breach of contract and indemnification with regard to PMC’s alleged breach of a single
 loan servicing agreement (“LSA”) between PMC and LBHI and/or its privies. LBHI obtained a
 judgment against PMC in 2013, which PMC paid in full.

         Subsequently, in 2015, LBHI brought an action in the District Court for the Central District
 of California against PMC for contractual indemnity based upon the same alleged breaches of the
 same LSA forming the basis of the 2010 lawsuit. PMC moved to dismiss the allegations on the
 ground that the law of claim splitting and res judicata prohibited such duplicative litigation. While
 PMC’s motion was pending and thus before it could be precluded from bringing its claims, LBHI
 voluntarily dismissed the California action. LBHI’s dismissal came after a conference during
 which the California District Court judge questioned counsel for LBHI: “[I]f at the time of the
 2010 action the same underlying agreement were deemed to have been breached, why couldn’t
 you have had a judgment entered that would have applied to any transaction between the parties
 that was subject to that breach or seek to amend the judgment?” Reporter’s Transcript of
 Proceedings, Lehman Brothers Holdings, Inc. v. PMC Bancorp, Jan. 25, 2016, at 41:2-8.

         LBHI forum shopped (for which LBHI tacitly admitted in agreeing to pay a portion of
 PMC’s attorneys’ fees and costs under Rule 41) and went for a third bite at the apple in the current
 action, alleging the same breaches of the same LSA by PMC. Under laws against claim splitting
 and principles of res judicata, PMC intends to move to dismiss LBHI’s current duplicative
 complaint against it.
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                      BROWN, NERI, SMITH & KHAN LLP

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         New York law prohibits a party from bringing a claim that was either already brought or
 could have been brought in a prior litigation. In re Methyl Tertiary Butyl Ether (“MTBE”) Prods.
 Liability Litig., 209 F.R.D. 323, 339 (S.D.N.Y. 2002) (“Claim-splitting is generally prohibited by
 the doctrine of res judicata…”). In determining whether res judicata bars a claim, New York
 courts look to whether the claims in the current action arose out of the same factual grouping
 (transaction) as those in the prior litigation. See Reilly, 45 N.Y.2d 24, 29 (1978); O’Brien v. City
 of Syracuse, 54 N.Y.2d 353, 357 (1981) (“[O]nce a claim is brought to a final conclusion all other
 claims arising out of the same transaction or series of transactions are barred, even if based upon
 different theories or if seeking a different remedy.”). Under New York law, res judicata casts a
 wide net and bars even claims not made in the prior action, so long as they are related to those
 made and could have been made. See Marinelli Assocs. v. Helmsley Noyes Co., Inc., 265 A.D.2d
 1, 5 (1st Dept 2000) (“the doctrine bars … claims that could have been litigated, if they arose from
 the same transaction or series of transactions.”

         Here, LBHI alleges breaches of the same LSA subject to the 2010 action, whereby, as a
 result of the alleged misrepresentations by PMC in the LSA, LBHI’s predecessor Lehman Brothers
 Bank (“LBB”), sold defective loans to RMBS Trustees. The doctrine of res judicata unequivocally
 bars LBHI’s claims. See O’Brien v. City of Syracuse, 54 N.Y.2d at 357. LBHI brought an
 action—and recovered full judgment by PMC—with regard to the sale of loans based on
 representations made in the LSA. At that time, LBHI was more than capable of bringing its claims
 here, which also concern the sale of loans based on representations made in the LSA. The sale of
 loans to RMBS had occurred well before 2010. The sale of loans were based on the same LSA
 that was the subject of the 2010 action.

         PMC is aware of this Court’s October 31, 2018 opinion denying Universal America
 Mortgage Company, LLC’s (“UAMC”) motion to dismiss based on res judicata. However, here,
 PMC respectfully requests that this Court take into consideration that, unlike for UAMC, a full
 and final judgment was already entered against PMC in 2010, and that, for this reason, the District
 Court for the Central District of California was inclined to dismiss LBHI’s subsequent identical
 allegations on the basis of res judicata before LBHI strategically eliminated that possibility.

         Accordingly, PMC intends to file a motion to dismiss LBHI’s claims against it and
 respectfully requests a pre-motion conference. This is the first request by PMC, and thus no prior
 pre-motion conference requests were either granted or denied.

                                          Very truly yours,



                                   Amjad M. Khan
                            of BROWN, NERI, SMITH & KHAN LLP

 cc:    Counsel of Record (via ECF)
